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                         IN THE UNITED STATES DISTRICT COURT
                                                                                         UL    i   0 LU
                          FOR TIlE WESTERNDISTRICT OF TEXAS
                                 SAN ANTONIO DIVTSION

  UNITED STATES OF AMERICA,                           SUPERSEDING INDICTMENT

           Plaintiff,                                 CRIMINAL NO.: SA.19-CR-797-I

   V.
                                                      COUNT 1: 21:846 & 841(a)(1) &
                                                      841 (b)( 1 )(A)(viii) - Conspiracy to Possess
 JOSE ANGEL HERNANDEZ (1) and                         Methamphetamine with Intent to Distribute;
 MARIA A. REYES (2),                                  COUNT 2: 21:841(a)(1) &
                                                      841 (b)( 1 )(A)(viii) - Possession with Intent
          Defendants.                                 to Distribute Methamphetamine;
                                                      COUNT3: 21:846&841(a)(1)-
                                                      Conspiracy to Possess Cocaine with Intent
                                                      to Distribute;




THE GRAND JURY CHARGES:

                                           COUWF ONE
                        (21 U.S.C. §   846, & 841(a)(1) & 841(b)(1)(A)(viii))

         That on or about October 3, 2019, and continuing through and including November 20,

2019, in the Western District of Texas, the Southern District of Texas, and elsewhere,

Defendants,


                              JOSE ANGEL HERNANDEZ (1), and
                                    MARIA A. REYES (2),


knowingly, intentionally, and unlawfully conspired, combined, confederated and agreed with

others known and unknown to the Grand Jury, to commit offenses against the United States, in

violation of Title 21, United States Code, Section 846, that is to say, they conspired to possess a

controlled substance, which offense involved methamphetamine, a Schedule II Controlled

Substance, with intent to distribute same, contrary to Title 21, United States Code, Section

841 (a)(1) in the quantities set forth below:

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QUANTITY OF CONTROLLED SUBSTANCE INVOLVED IN THE CONSPIRACY

        The quantity of methamphetamine involved in the conspiracy and attributable to each

Defendant as a result of each Defendant's own conduct and as a result of the conduct of other

conspirators reasonably foreseeable to each Defendant is as follows:

         DEFENDANT                         QUANTITY                           STATUTE

 JOSE ANGEL                       500 grams or more of a           21 U.S.C. §
 HERNANDEZ (1)                    mixture or substance             841 (b)( 1 )(A)(viii)
                                  containing a detectable
                                  amount of methamphetaniine
 MARIA A. REYES (2)               500 grams or more of a           21 U.S.C. §
                                  mixture or substance             841 (b)(l )(A)(viii)
                                  containing a detectable
                                  amount of methamphetamine

        All in violation of Title 21, United States Code, Sections 846.

        Before the defendant, Jose Angel Hemandez, committed the offense charged in this count,

Jose Angel Hemandez was convicted of Importation of Methamphetaniine, a serious drug felony,

for which he served more than 12 months of imprisonment and for which he was released from

serving any term of imprisonment related to that offense within 15 years of the commencement of

the instant offense.


                                         COUNT TWO
                          (21 U.S.C. §   84l(a)(1) & 841(b)(1)(A)(viii))

        That on or about October 3, 2019, in the Western District of Texas, Defendants,

                            JOSE ANGEL IIERNANDEZ (1), and
                                  MARIA A. REYES (2),

  knowingly and intentionally possessed with intent to distribute a controlled substance, which

offense involved 500 grams or more of a mixture or substance containing a detectable amount of




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methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United States

Code, Sections 841 (a)( 1) and 8.41 (b)( 1 )(A)(viii).

        Before Jose Angel Hernandez committed the offense charged in this count, Jose Angel

Hemandez was convicted of Importation of Methamphetamine, a serious drug felony, for which

he served more than 12 months of imprisonment and for which he was released from serving any

term of imprisonment related to that offense within 15 years of the commencement of the instant

offense.

                                          COUNT THREE
                                    (21 U.S.C. § 846 & 841(a)(1))

        That on or about October 3, 2019, and continuing through and including November 20,

2019 in the Western District of Texas, the Southern District of Texas, and elsewhere, Defendant,

                                        MARIA A. REYES (2)

knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed with

others known and unknown to the Grand Jury, to commit offenses against the United States, in

violation of Title 21, United States Code, Section 846, that is to say, they conspired to possess a

controlled substance, which offense involved cocaine, a Schedule II Controlled Substance, with

intent to distribute same, contrary to Title 21, United States Code, Sections 841(a)(1) in the

quantities set forth below:

  QUANTITY OF CONTROLLED SUBSTANCE INVOLVED IN THE CONSPIRACY

        The quantity of cocaine involved in the conspiracy and attributable to each Defendant as a

result of each Defendant's own conduct and as a result of the conduct of other conspirators

reasonably foreseeable to each Defendant is as follows:

       DEFENDANT                                  QUANTITY                  STATUTE
MARIA A. REYES (2)                           5 kilograms or more of 21 U.S.C. § 841(b)(1)(A)(ii)
                                             a mixture or substance


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                                    containing a detectable
                                    amount of cocaine

  All in violation of Title 21, United States Code, Section 846.


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                                              II,    -




                                        FOREPERSON OF THE GRAND


 JOHN F. BASH
 United State At



Daphie D. Ne*az J
Assistant United States
